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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 11-20587-Cr-SCOLA

  UNITED STATES OF AMERICA,

  vs.

  WYATT BARNFIELD III,

        Defendant.
  _______________________________/
        AMENDED SECOND ORDER REGARDING DEFENDANT’S MEDICAL NEEDS1
           THIS MATTER is before the Court on Defendant Wyatt Barnfield, III’s Motion for
  Release From Custody Due To Medical Condition That Is Not Being Properly Addressed By The
  Federal Detention Center (ECF No. 746). On July 18, 2012, this Court was advised by Barnfield
  that his medical conditions were not being adequately addressed while at FDC-Miami,
  specifically matters relating to his prosthesis. On July 19, 2012, the Court issued an Order
  expressing its concerns with the apparent lack of adequate medical care that Barnfield was
  receiving at FDC-Miami, and recommending to Bureau of Prisons’ staff that Barnfield’s medical
  situation be evaluated and addressed. (Order Regarding Def.’s Medical Needs, ECF No. 727.)
           On August 16, 2012, the Court held a hearing during which it received updated report
  from Barnfield regarding his medical situation. Barnfield informed the Court that the issues
  relating to his prosthesis had not been addressed. Specifically, Barnfield explained that he has
  not been provided with a replacement sock/sleeve that is used with his prosthesis, and that part of
  his prosthesis remains broken and has not been repaired or replaced. The issues raised by
  Barnfield relating to the apparent lack of adequate medical care that he is receiving at FDC-
  Miami are alarming. The Court is concerned that Barnfield is not receiving adequate medical
  attention regarding the repair and maintenance of his prosthesis by prison officials at FDC-
  Miami.
           “Prison authorities are required by statute to provide for the safekeeping and care of all
  persons charged with or convicted of offenses against the United States.” Gomez v. United

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    This order is amended only to modify the hearing date from September 21, 2012 to August 21,
  2012.
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  States, 899 F.2d 1124, 1125 (11th Cir. 1990) (citing 18 U.S.C. § 4042(a)(2)). This Court
  recognizes that, under normal circumstances, it may not compel the Bureau of Prisons to
  undertake a specific action relating to a defendant’s medical care.
         Accordingly, the United States Attorney’s Office is ORDERED to convey the Court’s
  concerns to Bureau of Prisons officials relating to the apparent lack of adequate medical care
  being received by Barnfield at FDC-Miami. A third hearing on this issue is set for August 21,
  2012 at 8:30 a.m. at the Wilkie D. Ferguson, Jr. Federal Courthouse, Courtroom 12-3, 400 North
  Miami Avenue, Miami, Florida 33128. At that time the Court will hear from Barnfield again,
  and from the Government on these issues. If the Court is not convinced that Barnfield either
  does not require the treatment he is requesting or that the Bureau of Prisons can and will timely
  provide the necessary medical treatment, the Court will have no other alternative but to release
  Barnfield, pending his sentencing, to allow him to seek medical attention on his own. Ruling on
  the Motion for Release From Custody Due To Medical Condition That Is Not Being Properly
  Addressed By The Federal Detention Center (ECF No. 746) is DEFERRED at this time.
         DONE AND ORDERED at Miami, Florida, on August 17, 2012.


                                                       ________________________________
                                                       ROBERT N. SCOLA, JR.
                                                       UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of record
  FDC-Miami
